
577 So.2d 1009 (1991)
Mona BARNES, Individually and as the Curator of the Interdict Daniel J. White
v.
Charles W. THAMES, Fireman's Fund Insurance Company and Reliance Insurance Company. (Two Cases)
No. 91-C-0613.
Supreme Court of Louisiana.
April 26, 1991.
Denied.
MARCUS, J., would grant, being of the opinion that the trial judge erred in awarding interest on the sum over and above the amount of the judgment against Aetna and being further of the opinion that the judge erred in granting interest on penalties and attorney fees from date of judicial demand rather than from date of judgment in contravention of this Court's decision in Alexander v. Burroughs Corp., 359 So.2d 607, 614 (La.1978).
LEMMON, J., would grant the writ.
